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Patrick J. Neligan, Jr.
State Bar. No. 14866000
Douglas J. Buncher
State Bar No. 03342700
John D. Gaither
State Bar No. 24055516
NELIGAN LLP
325 North St. Paul, Suite 3600
Dallas, Texas 75201
Telephone: 214-840-5333
Facsimile: 214-840-5301
pneligan@neliganlaw.com
dbuncher@neliganlaw.com
jgaither@neliganlaw.com

PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
        DEBTORS1                                  §                Jointly Administered


                          DEBTORS’ WITNESS AND EXHIBIT LIST
                      FOR HEARING TO BE HELD ON FEBRUARY 10, 2021

        The National Rifle Association of American and Sea Girt LLC (the “Debtors”) may call

the following witnesses and introduce the following exhibits at the hearing scheduled on

February 10, 2021 at 2:00 p.m. in the above-captioned proceeding (the “Hearing”):

                                             I. WITNESSES

       1.        The Debtor reserves the right to call the following individual as witnesses at the
Hearing:
                 a.       Sonya Rowling

                 b.       Any witness(es) identified or called by any other parties; and

                 c.       Rebuttal witnesses, as necessary.

1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
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                                        II. EXHIBITS

       2.      The Debtors reserve the right to introduce the following document as an exhibit at
the Hearing:

               EXHIBIT NO.                               DESCRIPTION
                     1         Declaration of Shawne E. Soto in Support of Certain First Day
                               Motions [Docket No. 10]
                     2         Declaration of Robert G. Owens in Support of Certain First Day
                               Motions [Docket No. 11]
                     3         Declaration of Sonya B. Rowling in Support of Certain First Day
                               Motions [Docket No. 12]
                     4         Exhibit B to Utilities Motion [Docket No. 19]
                               Any exhibit(s) offered or introduce by any other parties
                               Rebuttal exhibits, as necessary

       3.      The Debtors reserve the right to supplement this Witness and Exhibit List.

Dated: February 9, 2021                     Respectfully submitted,

                                            /s/Patrick J. Neligan, Jr.
                                            Patrick J. Neligan, Jr.
                                            Texas Bar No. 14866000
                                            pneligan@neliganlaw.com
                                            Douglas J. Buncher
                                            Texas State Bar No. 03342700
                                            John D. Gaither
                                            Texas Bar No. 24055516
                                            jgaither@neliganlaw.com
                                            NELIGAN LLP
                                            325 N. St. Paul, Suite 3600
                                            Dallas, Texas 75201
                                            Telephone: (214) 840-5300
                                            Facsimile: (214) 840-5301

                                            PROPOSED FOR THE DEBTOR
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 9th day of February 2021 a true and correct
copy of the foregoing was served electronically via this Court’s CM/ECF notification system.

                                              /s/ John D. Gaither
                                             John D. Gaither




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